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8        Seattle, WA 98104-3188
         (206) 464-7744
9
                          UNITED STATES DISTRICT COURT
10                       EASTERN DISTRICT OF WASHINGTON

11       STATE OF WASHINGTON, et al.,               NO. 1:23-cv-03026-TOR

12                          Plaintiffs,             DECLARATION OF
                                                    ANDREW HUGHES IN SUPPORT
13           v.                                     OF PLAINTIFF STATES’ REPLY
                                                    RE MOTION FOR PRELIMINARY
14       UNITED STATES FOOD AND                     INJUNCTION
         DRUG ADMINISTRATION, et al.
15
                            Defendants.
16

17
               I, Andrew Hughes, declare as follows:
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               1.    I am over the age of 18, am competent to testify as to the matters
19
         herein, and make this declaration based on my personal knowledge.
20
               2.    I am an Assistant Attorney General with the Washington State
21
         Office of the Attorney General.
22

                                                               ATTORNEY GENERAL OF WASHINGTON
         DECLARATION OF ANDREW                     1                Complex Litigation Division
         HUGHES IN SUPPORT OF                                       800 Fifth Avenue, Suite 2000
                                                                      Seattle, WA 98104-3188
         PLAINTIFF STATES’ REPLY                                           (206) 464-7744
     Case 1:23-cv-03026-TOR   ECF No. 61    filed 03/24/23   PageID.1576 Page 2 of 5




1              3.    Attached hereto as Exhibit A is a true and correct copy of the

2        October 4, 2022 Citizen Petition of the American College of Obstetricians and

3        Gynecologists (and 48 other organizations).

4              4.    Attached hereto as Exhibit B is a true and correct copy of the

5        September 29, 2021 Letter from Chelius Plaintiffs to the FDA.

6              5.    Attached hereto as Exhibit C is the Appendix to the September 29,

7        2021 Letter from the Chelius Plaintiffs to the FDA.

8              6.    Attached hereto as Exhibit D is a true and correct copy of the March

9        30, 2020 letter of then-California Attorney General Xavier Becerra and other

10       Attorneys General to HHS and the FDA.

11             7.    Attached hereto as Exhibit E is a true and correct copy of the

12       November 3, 2015 letter to the FDA signed by the American Public Health

13       Association (Population, Reproductive, and Sexual Health Section); Gynuity

14       Health Projects; Ibis Reproductive Health; the National Abortion Federation; and

15       clinicians from the Albert Einstein College of Medicine, Columbia University,

16       Princeton University, Stanford University, the University of California San

17       Francisco, the University of North Carolina, the University of New Mexico and

18       the University of Ottawa, among others.

19             8.    Attached hereto as Exhibit F is a true and correct copy of the

20       November 4, 2015 letter to the FDA from the American College of Obstetricians

21       and Gynecologists.

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                                                                ATTORNEY GENERAL OF WASHINGTON
         DECLARATION OF ANDREW                      2                Complex Litigation Division
         HUGHES IN SUPPORT OF                                        800 Fifth Avenue, Suite 2000
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1              9.    Attached hereto as Exhibit G is a true and correct copy of the

2        transcript of the Remarks of Secretary Xavier Becerra at the Press Conference in

3        Response to President Biden’s Directive following Overturning Roe v. Wade

4        delivered June 28, 2022.

5              10.   Attached hereto as Exhibit H is a true and correct copy of the June

6        20, 2019 letter of the American Academy of Family Physicians to the FDA.

7              11.   Attached hereto as Exhibit I is a true and correct copy of the

8        Complaint in American College of Obstetricians & Gynecologists v. FDA, 8:20-

9        cv-01320-TDC (D. Md.) filed May 27, 2020.

10             12.   Attached hereto as Exhibit J is a true and correct copy of the August

11       13, 2021 letter from the Society of Family Planning to the FDA.

12             13.   Attached hereto as Exhibit K is a true and correct copy of the

13       October 6, 2021 letter from The American College of Obstetricians and

14       Gynecologists to the FDA.

15             14.   Attached hereto as Exhibit L is a true and correct copy of the June

16       21, 2022 letter from The American College of Obstetricians and Gynecologists

17       and the American Medical Association to the FDA.

18             15.   Attached hereto as Exhibit M is a Chronology of FDA

19       Communications that I prepared.

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                                                                ATTORNEY GENERAL OF WASHINGTON
         DECLARATION OF ANDREW                      3                Complex Litigation Division
         HUGHES IN SUPPORT OF                                        800 Fifth Avenue, Suite 2000
                                                                       Seattle, WA 98104-3188
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1              I declare under penalty of perjury under the laws of the State of

2        Washington and the United States of America that the foregoing is true and

3        correct.

4              DATED this 24th day of March, 2023 at Seattle, Washington.

5
                                              s/Andrew Hughes
6                                             Andrew Hughes
                                              Assistant Attorney General
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                                                               ATTORNEY GENERAL OF WASHINGTON
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1                                 CERTIFICATE OF SERVICE

2              I hereby certify that on March 24, 2023, I electronically filed the foregoing

3        with the Clerk of the Court using the CM/ECF System, which in turn

4        automatically generated a Notice of Electronic Filing (NEF) to all parties in the

5        case who are registered users of the CM/ECF system. The NEF for the foregoing

6        specifically identifies recipients of electronic notice.

7              DATED this 24th day of March, 2023, at Seattle, Washington.

8                                                 /s/Kristin Beneski
                                                  KRISTIN BENESKI, WSBA #45478
9                                                 First Assistant Attorney General
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                                                                    ATTORNEY GENERAL OF WASHINGTON
         DECLARATION OF ANDREW                         5                 Complex Litigation Division
         HUGHES IN SUPPORT OF                                            800 Fifth Avenue, Suite 2000
                                                                           Seattle, WA 98104-3188
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